             Case 8:11-bk-05292-CPM           Doc 27     Filed 07/09/18      Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


In re:                                          Case No.:      8:11-bk-05292-CPM
                                                Chapter        7
Edwin Martinez and
Migdalia Martinez,

            Debtors.
__________________________/


                   MOTION TO REOPEN CHAPTER 7 CASE AND
                  FOR ORDER DIRECTING THE UNITED STATES
             TRUSTEE TO APPOINT A SUCCESSOR CHAPTER 7 TRUSTEE

         Daniel M. McDermott, United States Trustee for Region 21, by and through his duly

authorized attorney, moves this Honorable Court, pursuant to 11 U.S.C. § 350(b) and Fed. R.

Bankr. P. 5010, for the entry of an order reopening the above captioned bankruptcy case and

directing the United States Trustee to appoint a chapter 7 trustee, and asserts the following:

         1. On March 24, 2011, the Debtors filed a voluntary chapter 7 petition.

         2. The United States Trustee appointed Beth Ann Scharrer as the chapter 7 trustee. She

            administered the case with no distribution to creditors.

         3. On July 28, 2011, the case was closed and the trustee was discharged.

         4. The United States Trustee has been notified of a possible estate asset.

         5. Given the possibility for recovery of assets, a meaningful distribution could be made

            to creditors.

         6. Accordingly, the bankruptcy case should be reopened pursuant to 11. U.S.C. §350(b),

            and the United States Trustee directed to appoint a trustee to administer any available

            assets for the benefit of the bankruptcy estate and its creditors.
            Case 8:11-bk-05292-CPM          Doc 27     Filed 07/09/18       Page 2 of 2



       WHEREFORE, the United States Trustee respectfully prays that this Honorable Court

grant the motion, enter an order reopening the chapter 7 case and setting aside the final decree,

directing the United States Trustee to appoint a chapter 7 trustee, and for such other and

additional relief that this Honorable Court deems appropriate under these premises.

Dated: July 9, 2018.

                                      Respectfully submitted,

                                      DANIEL M. MCDERMOTT
                                      United States Trustee, Region 21

                                      By:      /s/Steven Wilkes
                                              (Ala. Bar. No. WIL-278)
                                              Trial Attorney
                                              U.S. Department of Justice
                                              Office of the U.S. Trustee, Region 21
                                              501 East Polk St. Suite 1200
                                              Tampa, Florida 33602
                                              (813) 228-2000
                                              (813) 228-2303 fax

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
electronically and/or by United States Mail, to the following on or before July 10, 2018:

Edwin Martinez and
Migdalia Martinez
3424 Yale Circle
Riverview, FL 33578

Electronically to: Daniel F. Pilka, Pilka & Associates, P.A., Debtors’ Counsel


                                                     /s/ J. Steven Wilkes
